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                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT


JANET JENKINS                           :
                                        :
          v.                            :    Case No. 2:12-cr-184
                                        :
KENNETH L. MILLER ET. AL.,              :
                                        :
          Defendants.                   :

   ORDER: PLAINTIFFS’ MOTION FOR CLARIFICATION OF the COURT’S
                 JANUARY 7, 2020 ORDER(ECF 450)


     Plaintiff Janet Jenkins, for herself and as next friend of

her daughter Isabella Miller-Jenkins, has brought suit against

several individuals and organizations, alleging that they

kidnapped and conspired to kidnap Isabella. Plaintiffs assert

claims of commission of, and conspiracy to, commit an

intentional tort of kidnapping and conspiracy to violate civil

rights under 42 U.S.C. § 1985(3).

     Plaintiffs have filed a motion to clarify this Court’s

January 7, 2020 Order (ECF 450) that the parties submit one

proposed modified discovery schedule to clarify the deadline by

which that schedule must be submitted. Plaintiffs cite a lack of

clarity in this previous Order as to whether the discovery

schedule should be submitted within 60 days of Defendants’

motion to stay discovery deadlines (by February 7, 2020) or




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within 60 days of the Court’s January 7th Order (by March 9,

2020).

     This Court would like the parties to submit one proposed

modified discovery schedule by March 9, 2020 (within 60 days of

the Court’s January 7th Order). This deadline should allow

Defendants sufficient time to secure new counsel beforehand.

                                  CONCLUSION

     Plaintiffs’ motion for clarification of [450] the Court’s

January 7, 2020 order that the parties submit one proposed

modified discovery schedule is granted. The parties are ordered

to submit one proposed modified discovery schedule on or before

March 9, 2020.

     DATED at Burlington, in the District of Vermont, this 10th

day of January, 2020.

                                     /s/ William K. Sessions III
                                     William K. Sessions III
                                     District Court Judge




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